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                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



BENJAMIN KERENSA                                                    Case No.: 3:18−cv−01388−HZ
   Plaintiff,

v.

U.S. DEPARTMENT OF HOMELAND
SECURITY
    Defendant.


                                    Civil Case Assignment Order

1.    Presiding Judge: The above referenced case has been filed in the Portland Division of the U.S.
District Court for the District of Oregon and assigned to:




2.    Courtroom Deputy Clerk: Questions about the status or scheduling of this case should be
directed to:

           Jennifer Paget
           Telephone: 503−326−8051
           Email: jennifer_paget@ord.uscourts.gov
3.   Case Administrator/Docket Clerk: Questions about filings or docket entries in this case
should be directed to:

          Telephone: 503−326−8050
4.    Place of Filing: Any paper filings must be submitted to the Clerk of Court, Mark O. Hatfield
U.S. Courthouse, 1000 S.W. Third Ave., Portland, OR, 97204. (See LR 3−1, LR 5−5.)

5.    District Court Website: Information about local rules of practice, CM/ECF electronic filing
requirements, responsibility to redact personal identifiers from filings, and other related information
can be found on the Court's website at ord.uscourts.gov.

6.     Consent to a Magistrate Judge: In accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73,
all United States Magistrate Judges in the District of Oregon are certified to exercise civil jurisdiction
in assigned cases and, with the consent of the parties, enter final orders on dispositive motions,
conduct trial, and enter final judgment, which may be appealed directly to the Ninth Circuit Court of
Appeals.

     Parties are encouraged to consent to the jurisdiction of a Magistrate Judge by signing and filing
the (attached) Consent to Jurisdiction by a United States Magistrate Judge and Designation of the
Normal Appeal Route. There will be no adverse consequences if a party elects not to consent to a
Magistrate Judge. A Magistrate Judge, however, may be able to resolve a case earlier as they are
primarily assigned only to civil cases.
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    Additional information about United States Magistrate Judges in the District of Oregon is
available on the Court's website.

DATED: July 24, 2018                               MARY L. MORAN
                                                   Clerk of Court

                                               by: /s/ S. Sellers
                                                   S. Sellers, Deputy Clerk
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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



BENJAMIN KERENSA                                                   Case No.: 3:18−cv−01388−HZ
   Plaintiff,

v.

U.S. DEPARTMENT OF HOMELAND
SECURITY
    Defendant.


                           Consent to Jurisdiction by a Magistrate Judge
                           and Designation of the Normal Appeal Route

      Pursuant to Fed. R. Civ. P 73(b), as counsel for the party (parties) identified below, I consent to
have a United States Magistrate Judge conduct any and all proceedings in this case, including entry of
orders on dispositive motions, trial, and entry of final judgment. I understand that withholding consent
will not result in any adverse consequences. Pursuant to Fed. R. Civ. P. 73(c), I agree that an appeal
from a judgment entered at a Magistrate Judge's direction may be taken to the court of appeals as
would any other appeal from a district court judgment.

DATED:


                    Signature:

          Name and OSB ID:

             E−mail Address:

                  Firm Name:

             Mailing Address:

              City, State, Zip:

         Parties Represented:
